Case 1:16-cv-23170-FAM Document 219 Entered on FLSD Docket 10/02/2018 Page 1 of 2


                        UN ITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                           C ase N um ber:16-23170-C lV-M O R EN O

  ELLIO T GELBER ,and allotherssim ilarly
  Situated RUBEN YERO SIGFREDO
  HERV NDEZ,MONICVV1LA , FARA D IA Z,
  JORGE AGULA R CASSANDM BAKER,
  SYLVIA BATISTA,SAN DM AM ENEIR0 ,
  JEAN VALBRUM ,ANGEL LOPEZ, CA RLO S
  TOLENTIN 0 ,M AGALIE SANTIAG 0, LUIS
  PA GAN ,LA REZO M O RERA ,RUBEN
  CATALA,ANEW RYS ROSARIO , and REY
  RIJOS,

                Plaintiffs,
  VS.

  AKAL SECURITY,lNC.,

                Defendant.
                                      /
        ORDER GM NTING IN PART AND DENYING IN PART M O TION IN LIM INE

         THIS CAUSE cam e before the Court upon Plaintifps M otion in Lim ine to exclude

 CollectiveBargainingAgreementandCI
                                  NN Video(D.E.215), filed on Septem ber30.2018          .



         THE C OUR T has considered the m otion, the pertinentportions ofthe record, and being

 otherwisefully advised in the premises, itis

         A DJUD G ED thatthe m otion is D EN IED as to the CN N video as the Defendant has no

 intention ofusingthevideo asan exhibitattrial. Itis

         ADJUDG ED that the m otion is GRANTED in part as to the Collective Bargaining

 Agreem ent. The D efendantis allow ed to introduce the coversheetand page 18 ofthe Collective

 BargainingAgreem ent,asthe Courthas found itis relevantto the issue ofw illfulness.

         DON E AND ORDERED in Open Courtat M iam i, Florida his                    of October
 2018.

                                            FEDERIC          O
                                            UNITE   ATES DISTRICT JUDGE
Case 1:16-cv-23170-FAM Document 219 Entered on FLSD Docket 10/02/2018 Page 2 of 2


  Copiesfum ished to:
  CounselofRecord




                                       2
